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                                                                                APPEAL,CLOSED,EFILE,REFCNF,WIG

                                                U.S. District Court
                                      District of Connecticut (New Haven)
                                CIVIL DOCKET FOR CASE #: 3:16-cv-02091-VAB


          Radwan v. University of Connecticut Board of Trustees et al         Date Filed: 12/19/2016
          Assigned to: Judge Victor A. Bolden                                 Date Terminated: 06/26/2020
          Referred to: Judge William I. Garfinkel (Settlement)                Jury Demand: Plaintiff
          Cause: 28:1331 Federal Question: Other Civil Rights                 Nature of Suit: 440 Civil Rights: Other
                                                                              Jurisdiction: Federal Question
          Plaintiff
          Noriana Radwan                                    represented by Gregory John Tarone
                                                                           Gregory J. Tarone, Attorney & Counselor
                                                                           at Law
                                                                           Attorney & Counselor At Law
                                                                           118 North Bedford Road
                                                                           Suite 100
                                                                           Mount Kisco, NY 10549
                                                                           845-527-5424
                                                                           Fax: 203-826-7896
                                                                           Email: Greg@TaroneEsq.com
                                                                           ATTORNEY TO BE NOTICED

                                                                              John J. Radshaw , III
                                                                              900 Chapel Street
                                                                              Suite 620
                                                                              New Haven, CT 06510
                                                                              203.654.9695
                                                                              Fax: 203.721.6182
                                                                              Email: jjr@jjr-esq.com
                                                                              TERMINATED: 01/18/2018
                                                                              ATTORNEY TO BE NOTICED

                                                                              Jonathan Joseph Klein
                                                                              Jonathan J. Klein, ESQ.
                                                                              60 Lyon Terrace
                                                                              Bridgeport, CT 06604
                                                                              203-330-1900
                                                                              Fax: 203-330-1526
                                                                              Email: jjkesq@hotmail.com
                                                                              ATTORNEY TO BE NOTICED


          V.
          Defendant




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          University of Connecticut Board of              represented by Joseph A. Jordano
          Trustees                                                       Office of Attorney General, State of CT
          Individually and in their official capacities                  Civil Rights/Torts
                                                                         165 Capitol Avenue
                                                                         Hartford, CT 06106
                                                                         860-808-5160
                                                                         Fax: 860-808-5084
                                                                         Email: joseph.jordano@ct.gov
                                                                         ATTORNEY TO BE NOTICED

                                                                         Rosemary Miller McGovern
                                                                         Attorney General's Office -Elm Htfd
                                                                         55 Elm Street
                                                                         P.O. Box 120
                                                                         Hartford, CT 06141
                                                                         860-808-5210
                                                                         Email: rosemary.mcgovern@ct.gov
                                                                         ATTORNEY TO BE NOTICED

          Defendant
          Warde Manuel                                    represented by Joseph A. Jordano
          Individually and in their official capacities                  (See above for address)
                                                                         ATTORNEY TO BE NOTICED

                                                                         Rosemary Miller McGovern
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

          Defendant
          Leonard Tsantiris                               represented by Joseph A. Jordano
          Individually and in their official capacities                  (See above for address)
                                                                         ATTORNEY TO BE NOTICED

                                                                         Rosemary Miller McGovern
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED

          Defendant
          Mona Lucas                                      represented by Joseph A. Jordano
          Individually and in their official capacities                  (See above for address)
                                                                         ATTORNEY TO BE NOTICED

                                                                         Rosemary Miller McGovern
                                                                         (See above for address)
                                                                         ATTORNEY TO BE NOTICED


          Date Filed          #      Docket Text




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          12/19/2016        1 COMPLAINT against Mona Lucas, Warde Manuel, Leonard Tsantiris, University
                              of Connecticut Board of Trustees, filed by Noriana Radwan. (Attachments: # 1
                              Exhibits)(Fazekas, J.) (Entered: 12/21/2016)
          12/19/2016           Filing fee received from Gregory J. Tarone: $400.00, receipt number
                               CTXB00007716. (Fazekas, J.) (Entered: 12/21/2016)
          12/19/2016        2 Order on Pretrial Deadlines: Motions to Dismiss due on 3/19/2017. Amended
                              Pleadings due by 2/17/2017. Discovery due by 6/20/2017. Dispositive Motions due
                              by 7/20/2017.
                              Signed by Clerk on 12/19/2016.(Fazekas, J.) (Entered: 12/21/2016)
          12/19/2016        3 STANDING PROTECTIVE ORDER
                              Signed by Judge Victor A. Bolden on 12/19/2016.(Fazekas, J.) (Entered:
                              12/21/2016)
          12/21/2016        4 NOTICE TO COUNSEL/PRO SE PARTIES : Counsel or pro se parties initiating or
                              removing this action are responsible for serving all parties with attached documents
                              and copies of 2 Order on Pretrial Deadlines, 3 Standing Protective Order, 1
                              Complaint filed by Noriana Radwan
                              Signed by Clerk on 12/21/2016.(Fazekas, J.) (Entered: 12/21/2016)
          12/21/2016        5 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR
                              4 as to *Mona Lucas, Warde Manuel, Leonard Tsantiris, University of Connecticut
                              Board of Trustees* with answer to complaint due within *21* days. Attorney
                              *Noriana Radwan* *70 Holly Loop* *Wappingers Falls, NY 12590* (Fazekas, J.)
                              (Entered: 12/21/2016)
          03/24/2017        6 SUMMONS Returned Executed by Noriana Radwan. Mona Lucas served on
                              3/17/2017, answer due 4/7/2017; Warde Manuel served on 3/15/2017, answer due
                              4/5/2017; Leonard Tsantiris served on 3/23/2017, answer due 4/13/2017; University
                              of Connecticut Board of Trustees served on 3/17/2017, answer due 4/7/2017.
                              (Fazekas, J.) (Entered: 03/29/2017)
          04/05/2017        7 NOTICE of Appearance by Rosemary Miller McGovern on behalf of Mona Lucas,
                              Warde Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees
                              (McGovern, Rosemary) (Entered: 04/05/2017)
          04/05/2017        8 NOTICE of Appearance by Joseph A. Jordano on behalf of Mona Lucas, Warde
                              Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees (Jordano,
                              Joseph) (Entered: 04/05/2017)
          04/05/2017        9 MOTION for Extension of Time until May 5, 2017 to file a responsive pleading to
                              plaintiff's complaint [doc.1] 1 Complaint by Mona Lucas, Warde Manuel, Leonard
                              Tsantiris, University of Connecticut Board of Trustees. (McGovern, Rosemary)
                              (Entered: 04/05/2017)
          04/07/2017       10 ORDER granting 9 Motion for Extension of Time until 5/5/2017 for Defendants to
                              file a responsive pleading to the Complaint. Signed by Judge Victor A. Bolden on
                              4/7/2017. (Chen, C.) (Entered: 04/07/2017)
          04/10/2017           Answer deadline updated for Mona Lucas to 5/5/2017; Warde Manuel to 5/5/2017;
                               Leonard Tsantiris to 5/5/2017; University of Connecticut Board of Trustees to
                               5/5/2017. (Perez, J.) (Entered: 04/10/2017)



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          05/05/2017       11 Second MOTION for Extension of Time until June 4, 2017 to file a responsive
                              pleading by Mona Lucas, Warde Manuel, Leonard Tsantiris, University of
                              Connecticut Board of Trustees. (McGovern, Rosemary) (Entered: 05/05/2017)
          05/08/2017       12 ORDER granting 11 Motion for Extension of Time. Responsive pleading due
                              6/4/2017. Signed by Judge Victor A. Bolden on 5/8/2017.(Ghosh, S.) (Entered:
                              05/08/2017)
          05/08/2017           Answer deadline updated for Mona Lucas to 6/5/2017; Warde Manuel to 6/5/2017;
                               Leonard Tsantiris to 6/5/2017; University of Connecticut Board of Trustees to
                               6/5/2017. (Fazekas, J.) (Entered: 05/08/2017)
          06/05/2017       13 MOTION to Dismiss by Mona Lucas, Warde Manuel, Leonard Tsantiris, University
                              of Connecticut Board of Trustees.Responses due by 6/26/2017 (Attachments: # 1
                              Memorandum in Support)(McGovern, Rosemary) (Entered: 06/05/2017)
          06/05/2017       14 NOTICE by Mona Lucas, Warde Manuel, Leonard Tsantiris, University of
                              Connecticut Board of Trustees re 13 MOTION to Dismiss Notice to Self-
                              Represented Litigant (as required by Local Rule 12(a)) (McGovern, Rosemary)
                              (Entered: 06/05/2017)
          06/05/2017       15 ANSWER to 1 Complaint with Affirmative Defenses by Mona Lucas, Warde
                              Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees.
                              (McGovern, Rosemary) (Entered: 06/05/2017)
          06/05/2017       16 NOTICE of Appearance by Gregory John Tarone on behalf of Noriana Radwan
                              (Tarone, Gregory) (Entered: 06/05/2017)
          06/16/2017       17 ELECTRONIC FILING ORDER - PLEASE ENSURE COMPLIANCE WITH
                              COURTESY COPY REQUIREMENTS IN THIS ORDER
                              Signed by Judge Victor A. Bolden on 6/16/2017.(Fazekas, J.) (Entered:
                              06/16/2017)
          06/20/2017       18 REPORT of Rule 26(f) Planning Meeting. (McGovern, Rosemary) (Entered:
                              06/20/2017)
          06/21/2017       19 SCHEDULING ORDER: Telephonic Status Conference set for 7/6/2017 10:00 AM
                              before Judge Victor A. Bolden to discuss parties' recently submitted report. Once
                              all parties are on the line, please call chambers at (203) 579-5562. Signed by Judge
                              Victor A. Bolden on 6/21/2017.(Ghosh, S.) (Entered: 06/21/2017)
          06/26/2017       20 RESPONSE to Motion to Dismiss filed by Noriana Radwan. (Tarone, Gregory)
                              (Entered: 06/26/2017)
          06/27/2017       21 Supplemental AFFIDAVIT re 20 Response Signed By Michele VonEisengrein filed
                              by Noriana Radwan. (Tarone, Gregory) (Entered: 06/27/2017)
          07/06/2017       22 Minute Entry for proceedings held before Judge Victor A. Bolden: Status
                              Conference held on 7/6/2017. Total Time: 0 hours and 5 minutes(Court Reporter S.
                              Montini.) (Ghosh, S.) (Entered: 07/06/2017)
          07/06/2017       23 SCHEDULING ORDER: Plaintiff to to join additional parties and amend pleadings
                              by 12/15/2017; Defendant to join additional parties and amend pleadings by
                              1/16/2018; Plaintiff to Designate Experts by 1/16/2018; Deposition of Plaintiff's
                              Experts by 2/2/2018; Damages Analysis by 3/2/2018; Defendants to Designate



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                               Experts by 3/2/2018; Deposition of Defendants' Experts by 5/4/2018; Discovery
                               due by 6/22/2018; Post-Discovery Status Conference set for 7/12/2018 11:00 AM
                               before Judge Victor A. Bolden; once all parties are on the line, please call chambers
                               at (203) 579-5562; Dispositive Motions due by 9/7/2018; Joint Trial Memorandum
                               to be filed 30 days after the Court rules on dispositive motions; trial ready date 30
                               days after the Joint Trial Memorandum is submitted. Signed by Judge Victor A.
                               Bolden on 7/6/2017.(Ghosh, S.) (Entered: 07/06/2017)
          07/06/2017       24 CASE REFERRED to Magistrate Judge William I. Garfinkel for settlement
                              confernece. (Ghosh, S.) (Entered: 07/06/2017)
          07/14/2017       25 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. Telephone Pre-Settlement
                              Conference set for 7/19/2017 @ 2:00 PM before Judge William I. Garfinkel.
                              Counsel for the plaintiff shall initiate this call. Once all parties are on the line,
                              contact Chambers at 203-579-5593. A date for the settlement conference will be set
                              during the telephone call. As the Court requires parties or their representatives with
                              settlement authority to attend the settlement conference, counsel should obtain
                              dates of unavailability from their clients over the next 190 days and have their own
                              calendars available to aid in the scheduling. During the telephone call, counsel
                              should be prepared to discuss what information needs to be exchanged and
                              anything else that needs to be accomplished prior to the settlement conference for
                              the discussions to be productive. This telephone conference will not be rescheduled
                              based on requests from counsel. If counsel is not available at the scheduled time,
                              please arrange for coverage by another lawyer who will have the necessary
                              background knowledge to participate. (Sanders, C.) (Entered: 07/14/2017)
          07/19/2017       26 Minute Entry for proceedings held before Judge William I. Garfinkel: Telephone
                              Pre-Settlement Conference held on 7/19/2017, (A Follow-up Telephone Status Pre-
                              Settlement Conference is set for 1/8/2018 @1:30 PM before Judge William I.
                              Garfinkel. Plaintiff's Counsel is requested to initiate this phone call. Once all
                              counsel are on the line, contact chambers at 203-579-5593). 30 minutes (Sanders,
                              C.) (Entered: 07/19/2017)
          11/15/2017       27 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE.ALL PERSONS ENTERING THE
                              COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Hearing re: 13
                              Motion to Dismiss set for 12/7/2017 at 10:00 AM in Courtroom Two, 915 Lafayette
                              Blvd., Bridgeport, CT before Judge Victor A. Bolden (Giammatteo, J.) (Entered:
                              11/15/2017)
          12/05/2017           Motion hearing, scheduled for 12/7/2017, is cancelled. The Court will issue its
                               ruling on the papers.
                               Signed by Judge Victor A. Bolden on 12/5/2017.(Giammatteo, J.) (Entered:
                               12/05/2017)
          12/05/2017       28 NOTICE of Appearance by John J. Radshaw, III on behalf of Noriana Radwan
                              (Radshaw, John) (Entered: 12/05/2017)
          12/14/2017       29 ORDER granting in part and denying in part 13 Motion to Dismiss. Count I of the
                              Complaint will proceed against Defendant UConn. Counts II through VI will
                              proceed against Defendants Manuel, Tsantiris, and Lucas in their individual
                              capacitiesonly. Any claims against Manuel, Tsantiris, and Lucas in their official



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                               capacities are dismissed, as are Counts V and VI with respect to Defendant UConn.
                               Signed by Judge Victor A. Bolden on 12/14/2017. (Giammatteo, J.) (Entered:
                               12/14/2017)
          01/02/2018       30 MOTION to Compel by Mona Lucas, Warde Manuel, Leonard Tsantiris, University
                              of Connecticut Board of Trustees.Responses due by 1/23/2018 (Attachments: # 1
                              Memorandum in Support)(McGovern, Rosemary) (Entered: 01/02/2018)
          01/02/2018       31 NOTICE by Mona Lucas, Warde Manuel, Leonard Tsantiris, University of
                              Connecticut Board of Trustees re 30 MOTION to Compel Certificate of Good Faith
                              (McGovern, Rosemary) (Entered: 01/02/2018)
          01/03/2018       32 ORDER denying 30 Motion to Compel without prejudice to renewal after
                              compliance with the Court's practices. The Court will hold a telephonic discovery
                              conference on 1/11/2018. Brief written submissions, as provided for under the
                              Court's practices, shall be filed by 1/9/2018. Signed by Judge Victor A. Bolden on
                              1/3/2018. (Giammatteo, J.) (Entered: 01/03/2018)
          01/03/2018       33 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. Telephonic Status Conference set for
                              1/11/2018 at 03:00 PM before Judge Victor A. Bolden. Once all counsel are on the
                              line, please call Chambers at (203) 579-5562. (Giammatteo, J.) (Entered:
                              01/03/2018)
          01/08/2018       34 Parties agreed not to go forward with the follow-up telephone pre-settlement
                              conference scheduled January 8, 2018. Parties are invited to contact the court when
                              ready to schedule a settlement conference. (Sanders, C.) (Entered: 01/08/2018)
          01/09/2018       35 RESPONSE re 32 Order on Motion to Compel, Brief Submission Regarding
                              Discovery Dispute filed by Mona Lucas, Warde Manuel, Leonard Tsantiris,
                              University of Connecticut Board of Trustees. (McGovern, Rosemary) (Entered:
                              01/09/2018)
          01/11/2018       36 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. RESET FROM 1/11/2018 at 03:00
                              PM Telephonic Status Conference set for 1/11/2018 at 04:00 PM before Judge
                              Victor A. Bolden. Once all counsel are on the line, please call Chambers at (203)
                              579-5562. (Giammatteo, J.) (Entered: 01/11/2018)
          01/11/2018       37 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. RESET FROM 1/11/2018 at 04:00
                              PM Status Conference set for 1/17/2018 at 09:00 AM before Judge Victor A.
                              Bolden. Once all counsel are on the line, please call Chambers at (203) 579-5562.
                              (Giammatteo, J.) (Entered: 01/11/2018)
          01/17/2018       38 MOTION for John Radshaw to Withdraw as Attorney by Noriana Radwan.
                              (Radshaw, John) (Entered: 01/17/2018)
          01/17/2018       39 ORDER: The Court sets the following schedule:
                              Plaintiff's Response to Outstanding Discovery Requests due by 1/26/2018.
                              Parties shall submit a proposed amended schedule by 1/31/2018.
                              The Court will address the proposed order in a telephonic status conference on
                              2/2/2018 at 10:00 a.m.
                              Signed by Judge Victor A. Bolden on 1/17/2018.(Giammatteo, J.) (Entered:



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                               01/17/2018)
          01/17/2018       40 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. Telephonic Status Conference set for
                              2/2/2018 at 11:00 AM before Judge Victor A. Bolden. Once all counsel are on the
                              line, please call Chambers at (203) 579-5562. (Giammatteo, J.) (Entered:
                              01/17/2018)
          01/18/2018       41 ORDER granting 38 Motion to Withdraw as Attorney. Attorney John J. Radshaw,
                              III terminated. Signed by Judge Victor A. Bolden on 1/18/2018. (Giammatteo, J.)
                              (Entered: 01/18/2018)
          01/18/2018           Set Deadlines/Hearings: Proposed Amended Schedule due by 1/31/2018 (Perez, J.)
                               (Entered: 01/18/2018)
          01/31/2018       42 First MOTION for Extension of Time until February 14, 2018 Proposed Amended
                              Schedule by Noriana Radwan. (Tarone, Gregory) (Entered: 01/31/2018)
          02/01/2018       43 ORDER granting 42 Motion for Extension of Time. Proposed schedule due by
                              2/14/2018. Telephonic status conference will be held on 2/20/2018 at 11:30 a.m.
                              Signed by Judge Victor A. Bolden on 2/1/2018. (Giammatteo, J.) (Entered:
                              02/01/2018)
          02/01/2018       44 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. RESET FROM 2/2/2018 at 11:00 AM
                              Telephonic Status Conference set for 2/20/2018 at 11:30 AM before Judge Victor
                              A. Bolden. Once all counsel are on the line, please call Chambers at (203)
                              579-5562. (Giammatteo, J.) (Entered: 02/01/2018)
          02/07/2018       45 Minute Entry for proceedings held before Judge Victor A. Bolden: Telephonic
                              Status Conference held on 1/17/2018. Total Time: 0 hours and 6 minutes(Court
                              Reporter S. Montini.) (Giammatteo, J.) (Entered: 02/07/2018)
          02/13/2018       46 NOTICE of Appearance by Jonathan Joseph Klein on behalf of Noriana Radwan
                              (Klein, Jonathan) (Entered: 02/13/2018)
          02/13/2018       47 PROPOSED ORDER re 23 Scheduling Order,,, 43 Order on Motion for Extension
                              of Time, 39 Order, by Noriana Radwan. (Klein, Jonathan) (Entered: 02/13/2018)
          02/14/2018       48 AMENDED SCHEDULING ORDER:Amended Scheduling Order: The Court
                              adopts the parties' 47 proposed schedule. The Scheduling Order will be amended as
                              follows:
                              Plaintiff's Designation of Expert Witnesses and Reports due by 4/13/2018.
                              Depositions of Plaintiff's Experts due by 5/18/2018.
                              Damages Analysis due by 5/18/2018.
                              Defendants' Designation of Expert Witnesses and Reports due by 5/25/2018.
                              Depositions of Defendants' Experts due by 6/29/2018.
                              Completion of discovery (all responses due and depositions of parties and fact
                              witnesses) due by 8/24/2018.
                              Dispositive Motions due by 10/5/2018.
                              Joint Trial Memorandum due 30 days after the Court's ruling on Dispositive
                              Motions.
                              Trial Ready date 30 days after filing of Joint Trial Memorandum.




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                               The Court will hold a telephonic status conference on August 30, 2018 at 10:30
                               a.m. Once all counsel are on the line, please call Chambers at (203) 579-5562.
                               Signed by Judge Victor A. Bolden on 2/14/2018.(Giammatteo, J.) (Entered:
                               02/14/2018)
          02/14/2018       49 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. RESET FROM 7/12/2018 at 11:00
                              AM Status Conference set for 8/30/2018 at 10:30 AM before Judge Victor A.
                              Bolden. Once all counsel are on the line, please call Chambers at (203) 579-5562.
                              (Giammatteo, J.) (Entered: 02/14/2018)
          02/21/2018       50 Minute Entry for proceedings held before Judge Victor A. Bolden: Telephonic
                              Status Conference held on 2/20/2018. Total Time: 0 hours and 3 minutes(Court
                              Reporter S. Montini.) (Giammatteo, J.) (Entered: 02/21/2018)
          04/05/2018       51 MOTION for Extension of Time until April 30, 2018 Disclose Expert Witness
                              Report by Noriana Radwan. (Klein, Jonathan) (Entered: 04/05/2018)
          04/06/2018       52 ORDER granting 51 Motion for Extension of Time. Plaintiff's Disclosure of Expert
                              Report due by 4/30/2018. Signed by Judge Victor A. Bolden on 4/6/2018.
                              (Giammatteo, J.) (Entered: 04/06/2018)
          05/16/2018       53 First MOTION for Extension of Time until 07/02/2018 and 07/09/2018 TO
                              DEPOSE PLAINTIFF'S EXPERT AND TO DESIGNATE EXPERT AND
                              DISCLOSE EXPERT'S REPORT 48 Scheduling Order,,,, by Mona Lucas, Warde
                              Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees.
                              (McGovern, Rosemary) (Entered: 05/16/2018)
          05/17/2018       54 ORDER granting 53 Motion for Extension of Time. Deposition of Plaintiff's Expert
                              due by 7/2/2018.
                              Defendants' Designation of Expert Witnesses and Reports due by 7/9/2018. Signed
                              by Judge Victor A. Bolden on 5/17/2018. (Giammatteo, J.) (Entered: 05/17/2018)
          06/19/2018       55 PROPOSED ORDER re 48 Scheduling Order,,,, Modified, Joint by Noriana
                              Radwan (Klein, Jonathan) (Tarone, Gregory) by Mona Lucas, Warde Manuel,
                              Leonard Tsantiris, University of Connecticut Board of Trustees. (McGovern,
                              Rosemary) (Entered: 06/19/2018)
          07/19/2018       56 AMENDED SCHEDULING ORDER.
                              Signed by Judge Victor A. Bolden on 7/19/2018.(Giammatteo, John) (Entered:
                              07/19/2018)
          07/19/2018       57 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. RESET FROM 8/30/2018 at 10:30
                              AM Telephonic Status Conference set for 11/8/2018 at 11:00 AM before Judge
                              Victor A. Bolden. Once all counsel are on the line, please call Chambers at (203)
                              579-5562. (Giammatteo, John) (Entered: 07/19/2018)
          08/29/2018       58 MOTION for Leave to File Supplement to Defendants' Answer [Dkt. 15] by Mona
                              Lucas, Warde Manuel, Leonard Tsantiris, University of Connecticut Board of
                              Trustees. (Attachments: # 1 Supplement Answer)(McGovern, Rosemary) (Entered:
                              08/29/2018)




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          08/29/2018       59 Consent MOTION for Settlement Conference by Mona Lucas, Warde Manuel,
                              Leonard Tsantiris, University of Connecticut Board of Trustees. (McGovern,
                              Rosemary) (Entered: 08/29/2018)
          08/29/2018       60 Joint MOTION to Stay re 56 Scheduling Order Pending Settlement Conference by
                              Mona Lucas, Warde Manuel, Leonard Tsantiris, University of Connecticut Board of
                              Trustees.Responses due by 9/19/2018 (McGovern, Rosemary) (Entered:
                              08/29/2018)
          08/30/2018       61 ORDER granting 59 Motion for Settlement. Signed by Judge Victor A. Bolden on
                              08/30/18. (Ryan, Sarah) (Entered: 08/30/2018)
          08/30/2018       62 ORDER REFERRING CASE to Magistrate Judge William I. Garfinkel for
                              Settlement. Signed by Judge Victor A. Bolden on 08/30/18. (Ryan, Sarah) (Entered:
                              08/30/2018)
          08/30/2018       63 ORDER granting 60 Motion to Stay. The Court construes the Motion to Stay as a
                              Motion to Amend the Scheduling Order to modify all remaining deadlines until 30
                              days after the parties Conference with Judge Garfinkel. Signed by Judge Victor A.
                              Bolden on 08/30/18. (Ryan, Sarah) (Entered: 08/30/2018)
          09/07/2018       64 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE. Telephone Pre-Settlement
                              Conference set for 9/27/2018 @1:30 PM before Judge William I. Garfinkel.
                              Counsel for the plaintiff shall initiate this call. Once all parties are on the line,
                              contact Chambers at 203-579-5593. A date for the settlement conference will be set
                              during the telephone call. As the Court requires parties or their representatives with
                              settlement authority to attend the settlement conference, counsel should obtain
                              dates of unavailability from their clients over the next 190 days and have their own
                              calendars available to aid in the scheduling. During the telephone call, counsel
                              should be prepared to discuss what information needs to be exchanged and
                              anything else that needs to be accomplished prior to the settlement conference for
                              the discussions to be productive. This telephone conference will not be rescheduled
                              based on requests from counsel. If counsel is not available at the scheduled time,
                              please arrange for coverage by another lawyer who will have the necessary
                              background knowledge to participate. (Sanders, C.) (Entered: 09/07/2018)
          09/27/2018       65 Minute Entry for proceedings held before Judge William I. Garfinkel: Telephone
                              Pre-Settlement Conference held on 9/27/2018, (Settlement Conference set for
                              11/8/2018 @ 10:30 AM in Magistrate Judge Courtroom, 4th Floor, Room 435, 915
                              Lafayette Blvd., Bridgeport, CT before Judge William I. Garfinkel. Counsel shall
                              check in with Judge Garfinkel's chambers, room 429 prior to the conference. The
                              settlement conference order is attached for review). 30 minutes (Sanders, C.)
                              (Entered: 09/28/2018)
          10/29/2018       66 ORDER denying 58 Motion for Leave to File, without prejudice and subject to
                              renewal, because the case is stayed and the parties are in a settlement conference
                              before Judge William I. Garfinkel. Signed by Judge Victor A. Bolden on 10/29/18.
                              (Ryan, Sarah) (Entered: 10/29/2018)
          10/31/2018       67 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                              COUNSEL/THE PARTIES WILL RECEIVE.ALL PERSONS ENTERING THE
                              COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Settlement



9 of 15                                                                                                           7/7/2020, 8:41 AM
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                                 Conference is rescheduled to 11/9/2018 @1:30 PM in Magistrate Judge Courtroom,
                                 4th Floor, Room 435, 915 Lafayette Blvd., Bridgeport, CT before Judge William I.
                                 Garfinkel. Counsels shall check in with Judge Garfinkel's chambers, room 429 prior
                                 to the conference. The settlement conference order, document 65 shall remain in
                                 effect. So Ordered by Judge William I. Garfinkel. (Sanders, C.) (Entered:
                                 10/31/2018)
           11/29/2018        68 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE.ALL PERSONS ENTERING THE
                                COURTHOUSE MUST PRESENT PHOTO IDENTIFICATION. Settlement
                                Conference is rescheduled to 2/11/2019 @11:00 AM in Magistrate Judge
                                Courtroom, 4th Floor, Room 435, 915 Lafayette Blvd., Bridgeport, CT before
                                Judge William I. Garfinkel. Counsel shall check in with Judge Garfinkel's
                                chambers, room 429 prior to the conference. (Sanders, C.) (Entered: 11/29/2018)
           02/11/2019        69 Minute Entry for proceedings held before Judge William I. Garfinkel: Settlement
                                Conference held on 2/11/2019. Case not settled. No follow-up scheduled unless all
                                parties are interested. Total Time: 2 hours and 30 minutes (Sanders, C.) (Entered:
                                02/11/2019)
           02/27/2019        70 MOTION to Preclude Expert Witness Report and Testimony by Mona Lucas,
                                Warde Manuel, Leonard Tsantiris, University of Connecticut Board of
                                Trustees.Responses due by 3/20/2019 (Attachments: # 1 Memorandum in Support
                                with exhibits)(McGovern, Rosemary) (Entered: 02/27/2019)
           03/20/2019        71 Memorandum in Opposition re 70 MOTION to Preclude Expert Witness Report
                                and Testimony filed by Noriana Radwan. (Attachments: # 1 Exhibit A (Curriculum
                                Vitae of Donna A. Lopiano, Ph.D.)(Klein, Jonathan) (Entered: 03/20/2019)
           04/01/2019        72 REPLY to Response to 70 MOTION to Preclude Expert Witness Report and
                                Testimony filed by Mona Lucas, Warde Manuel, Leonard Tsantiris, University of
                                Connecticut Board of Trustees. (McGovern, Rosemary) (Entered: 04/01/2019)
           05/16/2019        73 Order denying 70 motion to preclude, without prejudice to renewal following the
                                close of discovery. Defendants move to preclude the report and testimony of
                                Plaintiff's expert, Dr. Donna Lopiano, before her deposition on relevance and
                                reliability grounds. Defendants do not argue that Dr. Lopiano, who, among other
                                things, holds a Ph.D. in Physical Education, co-authored the Athletic Director's
                                Desk Reference (2013), served in various administrative capacities at colleges and
                                universities throughout the nation, and testified in court previously, is unqualified to
                                serve as an expert. Rather, Defendants argue that Dr. Lopiano's opinions should be
                                excluded under Federal Rules of Evidence 403, 701, and 702. In support of their
                                motion, Defendants submit an incomplete version of Dr. Lopiano's draft report
                                (e.g., referring to but not including exhibit MM), but not the report in its entirety.
                                Given the age of this case, the incompleteness of the record, the stage of this
                                litigation (i.e., discovery), and the Court's inherent authority to manage its docket
                                with a "view toward the efficient and expedient resolution of cases," Deitz v.
                                Bouldin, 136 S. Ct. 1885, 1892 (2016), the Court denies Defendants' motion 70
                                without prejudice to the possibility of renewal following the close of discovery.
                                Signed by Judge Victor A. Bolden on 05/16/19. (Ryan, Sarah) (Entered:
                                05/16/2019)




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           05/21/2019        74 AMENDED SCHEDULING ORDER

                                 Depositions of Plaintiff's Expert Witnesses by 6/21/19.
                                 Defendant's Disclosure of Expert Witnesses and Reports by 07/12/19.
                                 Depositions of Defendants' Expert Witnesses by 08/16/2019.
                                 Completion of Discovery by 08/30/2019.
                                 Post-Discovery Telephonic Status Conference to be held on 9/5/19 at 10:30 a.m.
                                 (Once all counsel are on the line, please call Chambers at (203) 579-5562.)
                                 Dispositive Motions by 11/11/2019.
                                 Joint Trial Memorandum by 30 days after the Court's ruling on Dispositive
                                 Motions.
                                 Trial Ready 30 days following the filing of the Joint Trial Memorandum.

                                 Signed by Judge Victor A. Bolden on 05/21/19. (Ryan, Sarah) Modified on
                                 5/24/2019 (Perez, J.). (Entered: 05/21/2019)
           05/23/2019        75 MOTION for Extension of Time until July 5, 2019 - August 30, 2019, fourteen (14)
                                days as to the following events: Depositions of Plaintiff's expert witnesses,
                                Defendants' disclosure of expert witnesses and reports and Depositions of
                                Defendants' expert witnesses 74 Scheduling Order,, by Mona Lucas, Warde
                                Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees.
                                (McGovern, Rosemary) (Entered: 05/23/2019)
           05/24/2019        76 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE.Post-Discovery Telephonic Status
                                Conference set for 9/5/2019 10:30 AM before Judge Victor A. Bolden. Once all
                                counsel are on the line, please call Chambers at (203) 579-5562. (Perez, J.)
                                (Entered: 05/24/2019)
           05/24/2019        77 ORDER granting 75 Motion for Extension of Time. Signed by Judge Victor A.
                                Bolden on 05/24/19. (Ryan, Sarah) (Entered: 05/24/2019)
           05/24/2019        78 Amended SCHEDULING ORDER:

                                 Depositions of Plaintiff's Expert Witnesses by 7/5/19.
                                 Defendant's Disclosure of Expert Witnesses and Reports by 07/26/19.
                                 Depositions of Defendants' Expert Witnesses by 08/30/2019.
                                 Completion of Discovery by 09/13/2019.
                                 Post-Discovery Telephonic Status Conference to be held on 9/19/19 at 10:30 a.m.
                                 (Once all counsel are on the line, please call Chambers at (203) 579-5562.)
                                 Dispositive Motions by 11/29/2019.
                                 Joint Trial Memorandum by 30 days after the Court's ruling on Dispositive
                                 Motions.
                                 Trial Ready 30 days following the filing of the Joint Trial Memorandum.

                                 Signed by Judge Victor A. Bolden on 05/24/19.
                                 (Ryan, Sarah) (Entered: 05/24/2019)
           05/29/2019        79 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. RESET FROM 9/5/2019 Post-
                                Discovery Telephonic Status Conference set for 9/19/2019 10:30 AM before Judge
                                Victor A. Bolden. Once all counsel are on the line, please call Chambers at (203)



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                                 579-5562. (Perez, J.) (Entered: 05/29/2019)
           07/12/2019        80 First MOTION for Extension of Time until August 2, 2019 to designate an expert
                                with expert report by Mona Lucas, Warde Manuel, Leonard Tsantiris, University of
                                Connecticut Board of Trustees. (McGovern, Rosemary) (Entered: 07/12/2019)
           07/15/2019        81 ORDER granting 80 First MOTION for Extension of Time until August 2, 2019 to
                                designate an expert with expert report by Mona Lucas, Warde Manuel, Leonard
                                Tsantiris, University of Connecticut Board of Trustees. Signed by Judge Victor A.
                                Bolden on 07/15/19. (Ryan, Sarah) (Entered: 07/15/2019)
           09/17/2019        82 NOTICE OF E-FILED CALENDAR. RESET FROM 9/19/2019 at 10:30am.
                                Telephonic Status Conference set for 9/19/2019 at 2:30 PM before Judge Victor A.
                                Bolden. Once all counsel are on the line, please call Chambers at (203) 579-5562.
                                (Leon, Noel) (Entered: 09/17/2019)
           09/19/2019        83 Minute Entry for proceedings held before Judge Victor A. Bolden: Post-Discovery
                                Telephonic Status Conference held on 9/19/2019. Total time: 2 minutes(Court
                                Reporter S. Montini.) (Leon, Noel) (Entered: 09/19/2019)
           10/21/2019        84 Joint MOTION to Seal supplemental answer to plaintiff's complaint; defendants'
                                memorandum of law in support of motion for summary judgment; defendants' local
                                rule 56(a)(1) statement of undisputed facts; and affidavits in support of summary
                                judgment. Plaintiff's motion for sumary judgment and supporting documents. by
                                Mona Lucas, Warde Manuel, Leonard Tsantiris, University of Connecticut Board of
                                Trustees. (McGovern, Rosemary) (Entered: 10/21/2019)
           10/21/2019        85 MOTION for Leave to File Excess Pages by Mona Lucas, Warde Manuel, Leonard
                                Tsantiris, University of Connecticut Board of Trustees. (McGovern, Rosemary)
                                (Entered: 10/21/2019)
           10/22/2019        86 ORDER granting 85 Motion for Leave to File Excess Pages. Signed by Judge
                                Victor A. Bolden on 10/22/2019. (Leon, Noel) (Entered: 10/22/2019)
           10/22/2019        87 ORDER granting 84 Joint Motion to Seal supplemental answer to Plaintiff's
                                complaint, memorandum of law in support of motion for summary judgment,
                                Defendants' local rule 56(a)(1) statement of undisputed facts, and affidavits in
                                support of summary judgment; and to publicly file redacted copies of each of the
                                aforementioned documents.
                                The Court finds that good cause exists to seal these documents under the Family
                                Educational Rights and Privacy Act (FERPA), 20 U.S.C. § 1232g, and that sealing
                                is supported by clear and compelling reasons and is narrowly tailored to serve those
                                reasons. See D. Conn. L. Civ. R. 5(e).
                                Signed by Judge Victor A. Bolden on 10/22/2019. (Leon, Noel) (Entered:
                                10/22/2019)
           11/01/2019        88 MOTION for Leave to File Supplemental Answer by Mona Lucas, Warde Manuel,
                                Leonard Tsantiris, University of Connecticut Board of Trustees. (Attachments: # 1
                                Proposed Supplemental Answer, Redacted)(McGovern, Rosemary) (Entered:
                                11/01/2019)
           11/01/2019        89 Sealed Document: TO SEAL Proposed Supplemental Answer by Mona Lucas,
                                Warde Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees re
                                88 MOTION for Leave to File Supplemental Answer . (McGovern, Rosemary)



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                                 (Entered: 11/01/2019)
           11/01/2019        90 MOTION for Summary Judgment by Mona Lucas, Warde Manuel, Leonard
                                Tsantiris, University of Connecticut Board of Trustees.Responses due by
                                11/22/2019 (Attachments: # 1 Memorandum in Support Redacted, # 2 Local Rule
                                56(a)(1) Statement of Undisputed Facts Redacted, # 3 Exhibit Redacted)
                                (McGovern, Rosemary) (Entered: 11/01/2019)
           11/01/2019        91 Sealed Document: TO SEAL Memo in Support of Motion for Summary Judgment,
                                Local Rule 56(a)(1) Statement of Undisputed Facts, and Exhibits by Mona Lucas,
                                Warde Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees re
                                90 MOTION for Summary Judgment . (Attachments: # 1 Local Rule 56(a)(1)
                                Statement of Undisputed Facts, # 2 Exhibit)(McGovern, Rosemary) (Entered:
                                11/01/2019)
           11/18/2019        92 First MOTION for Extension of Time to File Response/Reply as to 90 MOTION
                                for Summary Judgment until 11/29/2019 by Noriana Radwan. (Klein, Jonathan)
                                (Entered: 11/18/2019)
           11/19/2019        93 ORDER granting 92 First MOTION for Extension of Time to File Response/Reply
                                as to 90 MOTION for Summary Judgment until November 29, 2019. Signed by
                                Judge Victor A. Bolden on 11/19/2019. (Leon, Noel) (Entered: 11/19/2019)
           11/25/2019        94 Second MOTION for Extension of Time to File Response/Reply as to 90 MOTION
                                for Summary Judgment until 12/09/2019 by Noriana Radwan. (Klein, Jonathan)
                                (Entered: 11/25/2019)
           11/25/2019        95 First MOTION for Extension of Time until 12/09/2019 to File Cross-Motion for
                                Summary Judgment 94 Second MOTION for Extension of Time to File
                                Response/Reply as to 90 MOTION for Summary Judgment until 12/09/2019 by
                                Noriana Radwan. (Klein, Jonathan) (Entered: 11/25/2019)
           11/26/2019        96 ORDER granting 94 and 95 Motions for Extensions of time until December 9,
                                2019 to File a Response to the Defendants' Motion for Summary Judgment and a
                                Cross-Motion for Summary Judgment. Signed by Judge Victor A. Bolden on
                                11/26/2019. (Leon, Noel) (Entered: 11/26/2019)
           12/09/2019        97 Final MOTION for Extension of Time to File Response/Reply as to 90 MOTION
                                for Summary Judgment until 12/23/2019 by Noriana Radwan. (Klein, Jonathan)
                                (Entered: 12/09/2019)
           12/09/2019        98 Final MOTION for Extension of Time until 12/23/2019 to File Cross-Motion for
                                Summary Judgment 97 Final MOTION for Extension of Time to File
                                Response/Reply as to 90 MOTION for Summary Judgment until 12/23/2019 by
                                Noriana Radwan. (Klein, Jonathan) (Entered: 12/09/2019)
           12/10/2019        99 ORDER granting 98 Motion for Extension of Time until December 23, 2019 to file
                                responses to 90 Motion for Summary Judgment. Signed by Judge Victor A. Bolden
                                on 12/10/2019. (Leon, Noel) (Entered: 12/10/2019)
           12/10/2019       100 ORDER finding as moot 97 Motion for Extension of Time to File Response/Reply
                                in light of the Court's order 99 . Signed by Judge Victor A. Bolden on 12/10/2019.
                                (Leon, Noel) (Entered: 12/10/2019)




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           12/23/2019       101 Memorandum in Opposition re 90 MOTION for Summary Judgment filed by
                                Noriana Radwan. (Attachments: # 1 Statement of Material Facts Local Rule 56(a)2
                                Statement, # 2 Exhibit Index to Exhibits, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit
                                C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G)(Klein, Jonathan)
                                (Entered: 12/23/2019)
           12/23/2019       102 Cross MOTION for Summary Judgment by Noriana Radwan.Responses due by
                                1/13/2020 (Attachments: # 1 Memorandum in Support, # 2 Statement of Material
                                Facts Local Rule 56(a)1 Statement, # 3 Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6
                                Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G)(Klein, Jonathan) (Entered:
                                12/23/2019)
           01/03/2020       103 MOTION for Extension of Time to File Response/Reply as to 101 Opposition to
                                Motion for Summary judgment and as to 102 Cross MOTION for Summary
                                Judgment until Febraury 12, 2020 by Mona Lucas, Warde Manuel, Leonard
                                Tsantiris, University of Connecticut Board of Trustees. (McGovern, Rosemary)
                                (Entered: 01/03/2020)
           01/04/2020       104 ORDER granting 103 Motion for Extension of Time until February 12, 2020, to
                                File Response to 102 Plaintiff's Cross-Motion for Summary Judgment, and to File
                                Reply to 101 Plaintiff's Opposition to Motion for Summary Judgment.

                                  The parties are advised that the Court is not inclined to grant any further extensions
                                  for any party.

                                  Signed by Judge Victor A. Bolden on 1/4/2020. (Leon, Noel) (Entered: 01/04/2020)
           02/07/2020       105 REPLY to Response to 90 MOTION for Summary Judgment filed by Mona Lucas,
                                Warde Manuel, Leonard Tsantiris, University of Connecticut Board of Trustees.
                                (McGovern, Rosemary) (Entered: 02/07/2020)
           02/07/2020       106 Memorandum in Opposition re 102 Cross MOTION for Summary Judgment filed
                                by Mona Lucas, Warde Manuel, Leonard Tsantiris, University of Connecticut
                                Board of Trustees. (Attachments: # 1 Statement of Material Facts Defendants'
                                56(a)(2) Stmt of Facts, # 2 Exhibit Defendants' Exhibits)(McGovern, Rosemary)
                                (Entered: 02/07/2020)
           02/19/2020       107 Amended Statement of Material Facts re 102 Cross MOTION for Summary
                                Judgment (CORRECTED) filed by Noriana Radwan. (Klein, Jonathan) (Entered:
                                02/19/2020)
           02/19/2020       108 REPLY to Response to 102 Cross MOTION for Summary Judgment filed by
                                Noriana Radwan. (Klein, Jonathan) (Entered: 02/19/2020)
           04/07/2020       109 NOTICE OF E-FILED CALENDAR: THIS IS THE ONLY NOTICE
                                COUNSEL/THE PARTIES WILL RECEIVE. Set/Reset Deadlines as to 102 Cross
                                MOTION for Summary Judgment , 90 MOTION for Summary Judgment .
                                Telephonic Motion Hearing set for April 30, 2020, at 10:00 AM before Judge
                                Victor A. Bolden. Call in information will be circulated to the parties. (Leon, Noel)
                                (Entered: 04/07/2020)
           04/29/2020       110 ORDER: Please use the following call-in information for 109 the telephonic motion
                                hearing scheduled tomorrow, April 30, 2020, at 10:00 a.m.:
                                Dial: 888-808-6929



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                                 Participant Code: 9284309
                                 Signed by Judge Victor A. Bolden on 4/29/20. (Leon, Noel) (Entered: 04/29/2020)
           04/30/2020       111 Minute Entry for proceedings held before Judge Victor A. Bolden: Motion Hearing
                                held on 4/30/2020 re 102 Cross MOTION for Summary Judgment filed by Noriana
                                Radwan, 90 MOTION for Summary Judgment filed by Warde Manuel, Leonard
                                Tsantiris, University of Connecticut Board of Trustees, Mona Lucas. Total Time: 75
                                minutes. (Court Reporter S. Montini.) (Leon, Noel) (Entered: 04/30/2020)
           06/06/2020       112 ORDER granting 90 Defendants' Motion for Summary Judgment; denying 102
                                Plaintiff's Motion for Summary Judgment.
                                The Clerk of the Court is respectfully directed to close this case. Signed by Judge
                                Victor A. Bolden on 6/6/2020. (Leon, Noel) (Entered: 06/06/2020)
           06/26/2020       113 JUDGMENT entered in favor of University of Connecticut Board of Trustees,
                                Leonard Tsantiris, Mona Lucas, Warde Manuel against Noriana Radwan.

                                  For Appeal Forms please go to the following website: http://www.ctd.uscourts.gov
                                  /forms/all-forms/appeals_forms
                                  Signed by Clerk on 6/26/2020.(Perez, J.) (Entered: 06/26/2020)
           06/26/2020             JUDICIAL PROCEEDINGS SURVEY - FOR COUNSEL ONLY: The following
                                  link to the confidential survey requires you to log into CM/ECF for SECURITY
                                  purposes. Once in CM/ECF you will be prompted for the case number. Although
                                  you are receiving this survey through CM/ECF, it is hosted on an independent
                                  website called SurveyMonkey. Once in SurveyMonkey, the survey is located in a
                                  secure account. The survey is not docketed and it is not sent directly to the judge.
                                  To ensure anonymity, completed surveys are held up to 90 days before they are sent
                                  to the judge for review. We hope you will take this opportunity to participate, please
                                  click on this link:

                                  https://ecf.ctd.uscourts.gov/cgi-bin/Dispatch.pl?survey
                                  (Perez, J.) (Entered: 06/26/2020)
           07/03/2020       114 NOTICE OF APPEAL as to 112 Order on Motion for Summary Judgment,,, 29
                                Order on Motion to Dismiss, 113 Judgment, by Noriana Radwan. Filing fee $ 505,
                                receipt number ACTDC-5953219. (Klein, Jonathan) (Entered: 07/03/2020)




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